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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF LOUISIANA
                                     MONROE DIVISION


  STATE OF MISSOURI ET AL                                 CASE NO. 3:22-CV-01213

  VERSUS                                                  JUDGE TERRY A. DOUGHTY

  JOSEPH R BIDEN JR ET AL                                 MAG. JUDGE KAYLA D. MCCLUSKY

                                     MEMORANDUM ORDER

         Pending before the Court are two Motions to Intervene [Doc. Nos. 39, 40]. The Motions

  were filed by Kimberly D. Hogan (“Hogan”) and Mike Webb (“Webb”), respectively. Hogan

  requests intervention on the basis of her being an investigative journalist. Webb requests

  intervention on the basis of his being a litigation hobbyist.

         After reviewing the Motions, the Court finds that Hogan and Webb have not satisfied the

  requirements for intervention. It further adopts its reasoning in its July 29, 2022, Memorandum

  Ruling [Doc. No. 42] for denial. Accordingly,

         IT IS ORDERED that Kimberly D. Hogan’s Motion to Intervene [Doc. No. 39] and

  Mike Webb’s Motion to Intervene [Doc. No. 40] are DENIED.

         MONROE, LOUISIANA, this 1st day of August 2022.




                                                                       Terry A. Doughty
                                                                  United States District Judge
